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 1 DAVID L. ANDERSON (CABN 149604)
   United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

 4 JEFFREY B. SCHENK (CABN 234355)
   PHILIP KOPCZYNSKI (NYBN 4627741)
 5 NOAH STERN (CABN 297476)
   Assistant United States Attorneys
 6
          450 Golden Gate Avenue, Box 36055
 7        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 8        FAX: (415) 436-7234
          Jeffrey.b.schenk@usdoj.gov
 9        Philip.kopczynski@usdoj.gov
          Noah.stern@usdoj.gov
10
   Attorneys for United States of America
11
                                   UNITED STATES DISTRICT COURT
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                       SAN FRANCISCO DIVISION
14

15   UNITED STATES OF AMERICA,         )                No. CR-14-00175-WHA
                                       )
16        Plaintiff,                   )                UNITED STATES’ RESPONSE TO COURT’S
                                       )                ORDER REQUESTING FURTHER INPUT ON
17     v.                              )                PROPOSED CONDITIONS [Dkt. 1294]
                                       )
18   PACIFIC GAS AND ELECTRIC COMPANY, )
                                       )
19        Defendant.                   )
                                       )
20

21          The United States, through Assistant United States Attorneys Jeffrey Schenk, Philip Kopczynski,
22 and Noah Stern, responds to the Court’s order requesting further input on proposed conditions 11 and

23 12. Dkt. 1294. In a filing on February 12, 2021, PG&E stated its “operations teams are working to

24 analyze the Court’s proposed conditions with the goal of accepting them and implementing them in a

25 manner that will significantly reduce wildfire risk.” Dkt. 1300. At this time, the United States has no

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28 UNITED STATES’ RESPONSE TO
     COURT’S ORDER REQUESTING INPUT                 1
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 1 specific objections or proposed modifications to the Court’s proposed conditions.

 2

 3 DATED:          February 19, 2021                           Respectfully submitted,

 4                                                             DAVID L. ANDERSON
                                                               United States Attorney
 5

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                                                               ___/s/_____________________
 7                                                             JEFFREY B. SCHENK
                                                               PHILIP KOPCZYNSKI
 8                                                             NOAH STERN
                                                               Assistant United States Attorneys
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28 UNITED STATES’ RESPONSE TO
     COURT’S ORDER REQUESTING INPUT                2
     CR-14-00175-WHA
